     Case 2:20-cv-02892-SHL-tmp   Document 625   Filed 10/17/24   Page 1 of 5
                                  PageID 35847



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


JESSICA JONES, et al.,                   Case No. 2:20-cv-02892-SHL-tmp

                Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                Defendants.




 INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF UNOPPOSED MOTION FOR
                FINAL APPROVAL OF SETTLEMENT
    Case 2:20-cv-02892-SHL-tmp           Document 625         Filed 10/17/24      Page 2 of 5
                                         PageID 35848



                                     NOTICE OF MOTION

       �e Indirect Purchaser Plaintiﬀs (“Plaintiﬀs” or “Class Representatives”) Jessica Jones,

Christina Lorenzen, and Amy Coulson, on behalf of themselves and the provisionally-certiﬁed

indirect purchaser classes, move the Court to grant ﬁnal approval of Plaintiﬀs’ settlement

agreement with Defendants, approve certiﬁcation of the provisionally-certiﬁed classes, appoint

the conditionally-appointed Plaintiﬀs as Class Representatives, approve the Plan of Allocation

for equitable distribution of the settlement fund, and enter a ﬁnal judgment and order terminating

the litigation between Plaintiﬀs and Defendants.

       WHEREFORE, for the reasons set forth in the accompanying memorandum of law and

exhibits, Indirect Purchaser Plaintiﬀs respectfully request that the Court grant this motion and

enter the proposed Order ﬁled herewith. Defendants do not oppose this motion.




                                                 1
    Case 2:20-cv-02892-SHL-tmp   Document 625      Filed 10/17/24      Page 3 of 5
                                 PageID 35849



Dated: October 17, 2024               Respectfully submitted,

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                                      2
Case 2:20-cv-02892-SHL-tmp   Document 625     Filed 10/17/24     Page 4 of 5
                             PageID 35850



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                                  3
    Case 2:20-cv-02892-SHL-tmp          Document 625        Filed 10/17/24     Page 5 of 5
                                        PageID 35851



                           CERTIFICATE OF CONSULTATION

       I hereby certify, pursuant to Local Rule 7.2(a)(1)(B), that my ﬁrm consulted with

Defendants’ counsel via email regarding this motion. No party opposed the relief sought.

                                                                    /s/ Joseph R. Saveri

                                                                    Joseph R. Saveri




                                               4
